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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                      *       CRIMINAL NO. 20-cr-00055
                                              *            SECT. F. MAG.4
VERSUS                                        *
                                              *       JUDGE FELDMAN
JASON R. WILLIAMS              (01)           *
NICOLE E. BURDETT              (02)           *       MAGISTRATE JUDGE ROBY

     GOVERNMENT’S OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL

         NOW INTO COURT, comes the United States of America, through the undersigned

Assistant United States Attorneys, who respectfully oppose the Motion to Compel (Doc. 84) filed

by Defendants Jason R. Williams and Nicole E. Burdett for the reasons outlined below.

   I.       Background

         This Court is intimately aware of the factual and procedural background of this matter and

the defendants’ issues with respect to Timothy Henry’s credibility, so an extensive recitation is not

necessary. For purposes of the instant motion, the defendants seek an order from this Court

compelling the production of Timothy’s grand jury testimony. Defendants originally sought

Timothy’s grand jury testimony for the October 22 evidentiary hearing but opted to proceed with

the hearing after this Court denied their request for an expedited hearing on the instant motion.

Order, Doc. 86.

   II.      Law and Argument

            a. Defendants are not entitled to Timothy’s grand jury testimony at this time.

         Defendants’ memorandum recites the pertinent standards governing the production of

Brady material. The Government is keenly aware of its obligations under Brady and Giglio and,

as a general matter, readily agrees with the authority cited. The Government is likewise aware of
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its obligations under the Jencks Act. However, the Government disagrees with the defendants’

argument as it relates to the interaction of Brady and Giglio with the Jencks Act. According to

defendants, Brady and Giglio supersede the provisions of the Jencks Act and mandate the

immediate production of Timothy’s grand jury testimony.

       The Government submits that the defendants’ argument fails to cite or discuss the pertinent

Fifth Circuit authority on the issue. In United States v. Anderson, 574 F.2d 1347 (5th Cir. 1978),

a defendant was convicted of various crimes in connection with stolen vehicles. One of the

assignments of error on appeal was the district court’s denial of a motion to dismiss the indictment

because the Government had allegedly failed to comply with the Jencks Act and Brady. Prior to

trial, the defendant had sought the grand jury testimony of a witness. As the Government contends

in the instant case, the Government in Anderson contended that production of the grand jury

testimony in Anderson was controlled by the Jencks Act. The Fifth Circuit rejected the defendant’s

contention, found that the Government had complied with the Jencks Act, and held:

               We need not decide whether the Rose grand jury testimony was required to
       be disclosed under the Brady doctrine. Even assuming, for the sake of argument,
       that the Rose grand jury testimony suggesting Simpson’s complicity in the theft of
       the two leased Cadillacs was Brady material, it was, nonetheless, timely provided
       to defense counsel. It was timely provided for Jencks Act purposes. And, when
       alleged Brady material is contained in Jencks Act material, disclosure is
       generally timely if the government complies with the Jencks Act.
               Since the government timely complied with the disclosure requirements of
       the discovery agreement, the Jencks Act, and the Brady doctrine, we cannot accept
       Anderson’s argument that the district court abused its discretion in denying the
       defense motion to dismiss the indictment.

574 F.2d at 1352 (citations omitted & emphasis added). While Anderson may be of some vintage,

the conclusion quoted above is still valid. Your Honor quoted the above-emphasized sentence

with approval in 2016 in United States v. Hankton, 2016 WL 10951283 (E.D. La.). While this

Court ordered the Government to produce the Jencks Act material immediately in Hankton, it must



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be noted that the order was entered on the second day of trial. Other recent cases have cited the

Anderson standard with approval. See generally United States v. Ware, 2019 WL 2268959 (E.D.

Tex.); United States v. Curious Goods, L.L.C., 2014 WL 345235 (W.D. La.) (“The government is

not required to produce statements made by prospective government witnesses except as required

by 18 U.S.C. § 3500 (the Jencks Act) even if the statements contain Brady-Giglio material.”);

United States v. Jensen, 2011 WL 1302908 at *12 (D. Alaska) (quoting Anderson with approval

and citing Ninth Circuit authority that “Brady exists as an independent foundation to preserve

evidence and is not intended to override the mandate of the Jencks Act.”). Here, as previously

conveyed to counsel, the Government will produce Timothy’s grand jury testimony at least three

days before the start of trial. This is in contrast to Special Agent Tim Moore’s grand jury

testimony, which this Court ordered be produced in connection with the October 22 evidentiary

hearing since SA Moore was called to testify at that hearing.

       Defendants cite a handful of cases for the proposition that Brady and Giglio require the

immediate production of grand jury materials. Such authority does not change the analysis under

the standard discussed above from Anderson. Thibodeaux v. Normand, 2016 WL 7033674 (E.D.

La.), involved a Section 1983 suit against the sheriff of Jefferson Parish alleging that the plaintiff

had been seized without probable cause and that the plaintiff’s interrogation was unconstitutional

and produced a false confession. The pertinence of Thibodeaux to the question before the Court

is cast into doubt when the discussion after the language quoted by the defendants is reviewed:

“Further, the Court finds that the interest in secrecy of this grand jury transcript has diminished.

The grand jury proceedings occurred over twenty years ago. And while the investigation of Ms.

Champagne’s murder may be ongoing, the trial arising out of the grand jury proceedings has

come and gone.” 2016 WL 7033674 at *7 (emphasis added). The quoted language from Taylor



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v. Cain, 2007 WL 1805668 (E.D. La.), was a reference to a Louisiana state court case recognizing

a jurisprudentially created third exception to the grand jury secrecy provisions in Louisiana Code

of Criminal Procedure Article 434. The language quoted from United States v. Turner, 2007 WL

1031691 (W.D. Wash.), did not discuss the Jencks Act, although a reference to Jencks was not

necessary because the Court ordered the production of the requested material no later than seven

days before trial.

        Again, the Government is mindful of its obligations under Brady, Giglio, and the Jencks

Act. Most of the information upon which the defendants base their attack on Timothy’s credibility

derived from reports and documents produced by the Government in discovery. The Government

has produced many thousands of pages in discovery and will produce the transcript of Timothy’s

grand jury testimony as required by the Jencks Act. The defendants are not entitled to Timothy’s

grand jury testimony at this time.

            b. Defendants are not entitled to Timothy’s grand jury testimony because they
               believe the Government failed to present exculpatory evidence to the grand
               jury.

        The standards applicable to the grand jury process and the dismissal of indictments for

alleged irregularities should sound familiar to this Court and counsel for Williams. In United

States v. Hoffman, 2015 WL 1608557 (E.D. La.), three defendants were charged in a financial

fraud case arising out of a scheme to defraud the State of Louisiana through their participation in

the state’s infrastructure tax credit program.       The defendants sought to dismiss a second

superseding indictment because, according to the defendants, the grand jury was incorrectly

instructed on the state tax credit program. They also asserted that the grand jury had erroneously

considered hearsay testimony from the case agent regarding state law requirements for tax credit

applications and the state forensic auditor’s erroneous testimony about expenditure requirements.



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Denying the motion to dismiss, this Court thoroughly summarized the grand jury’s role and the

limitation on courts to inquire into the grand jury process:

                   Honoring its tradition of independence, “the grand jury has been accorded
          wide latitude to inquire into violations of criminal law.” United States v. Calandra,
          414 U.S. 338, 345 (1974). Significantly, “[t]he grand jury’s sources of information
          are widely drawn, and the validity of an indictment is not affected by the character
          of the evidence considered.” Id. at 344-45. Indeed, it is well settled that an
          indictment may be based entirely on hearsay and prosecutors may use leading
          questions before the grand jury. Costello v. United States, 350 U.S. 359, 363
          (1956); United States v. Weiss, 752 F.2d 777, 786 (2d Cir. 1985). “Thus, an
          indictment valid on its face is not subject to challenge on the ground that the
          grand jury acted on the basis of inadequate or incompetent evidence.”
          Calandra, 414 U.S. at 345; Costello, 350 U.S. at 363 (“An indictment returned by
          a legally constituted and unbiased grand jury, like an information drawn by the
          prosecutor, if valid on its face, is enough to call for trial of the charge on the
          merits.”). “A defendant has no right to require that the Government present
          all available evidence at this proceeding.” United States v. Brown, 574 F.2d
          1274, 1275 (5th Cir. 1978). “A court should not inquire into the sufficiency of the
          evidence before the indicting grand jury, because the grand jury proceeding is
          merely a preliminary phase . . . and all constitutional protections are afforded at
          trial.” See United States v. Valencia-Lucena, 925 F.2d 506, 511 (1st Cir. 1991);
          see also United States v. Cruz, 478 F.2d 408, 412 (5th Cir. 1973) (“We will not
          review the sufficiency of the evidence, if any, supporting the grand jury indictments
          in this case.”).

2015 WL 1608557 at *2 (emphasis added).

          Footnote 5 from the Hoffman ruling is also enlightening in that it articulates the

longstanding rule that the Government is not required to present exculpatory information to the

grand jury and cites the Supreme Court’s decision in United States v. Williams, 504 U.S. 36, 112

(1992).     The Court noted that “requiring the prosecutor to present exculpatory as well as

inculpatory evidence would alter the grand jury’s historical role, transforming it from an

accusatory to an adjudicatory body.” 504 U.S. at 51. “It is axiomatic that the grand jury sits not

to determine guilt or innocence, but to assess whether there is adequate basis for bringing a

criminal charge. That has always been so; and to make the assessment that it has always been

thought sufficient to hear only the prosecutor’s side.” Id. (citation omitted). In another Eastern

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District case, Judge Milazzo denied a motion to dismiss an indictment based on the rule articulated

in Williams. United States v. Scott, 2018 WL 3642006 at *4 (E.D. La.).

        The defendants’ memorandum does not cite Hoffman, 1 much less the Supreme Court’s

decision in Williams, or the Fifth Circuit authority cited by this Court in Hoffman. Even if the

Government had failed to disclose certain allegedly exculpatory evidence to the grand jury,

dismissal would not be proper. This Court noted that the defendants in Hoffman conceded that the

Government had no duty to present exculpatory evidence and that the Government can obtain an

indictment based on hearsay and other unreliable evidence and expected “vigorous cross-

examination” of the witnesses. Hoffman, 2015 WL 1608557 at *3 note 3. The same reasoning

should apply here.

        WHEREFORE, the Government respectfully requests that the Court deny Defendants’

Motion to Compel for the reasons stated above.

                                                     Respectfully submitted,

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  It would be understandable if an unpublished decision is not cited; however, Mr. Gibbens was counsel of record in
that case.

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